USCA4 Appeal: 23-1346   Doc: 3        Filed: 03/31/2023   Pg: 1 of 2


                                                                  FILED: March 31, 2023

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                    ___________________

                                       No. 23-1345 (L)
                                       (5:21-cv-00191)
                                    ___________________

        HILMA STOVER, on behalf of herself and a class of similarly situated persons

                    Plaintiff - Appellee

        v.

        FLUENT HOME, LLC

                    Defendant - Appellant

         and

        THE BANK OF MISSOURI, d/b/a Fortiva Retail Credit; ATLANTICUS
        SERVICES CORP.; FORTIVA FINANCIAL, LLC

                    Defendants

                                    ___________________

                                         No. 23-1346
                                       (5:21-cv-00191)
                                    ___________________

        HILMA STOVER, on behalf of herself and a class of similarly situated persons

                    Plaintiff - Appellee

        v.

        THE BANK OF MISSOURI, d/b/a Fortiva Retail Credit; ATLANTICUS
USCA4 Appeal: 23-1346    Doc: 3        Filed: 03/31/2023    Pg: 2 of 2


        SERVICES CORP.; FORTIVA FINANCIAL, LLC

                     Defendants - Appellants

         and

        FLUENT HOME, LLC

                     Defendant

                                     ___________________

                                          ORDER
                                     ___________________

               The court consolidates Case No. 23-1345 and Case No. 23-1346. Entry of

        appearance forms and disclosure statements filed by counsel and parties to the lead

        case are deemed filed in the secondary case.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
